         Case 23-03141 Document 135 Filed in TXSB on 01/10/24 Page 1 of 2
                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                            January 10, 2024
                      FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                              §
                                    §                  CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                  CHAPTER 7
                                    §
       Debtor.                      §
                                    §
JOHN QUINLAN, OMAR KHAWAJA          §
AND OSAMA ABDULLATIF,               §
                                    §
VS.                                 §                  ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC §
2727 KIRBY 26L LLC, TEXAS REIT LLC, §
DALIO HOLDINGS I, LLC, DALIO        §
HOLDINGS II, LLC, HOUSTON REAL      §
ESTATE PROPERTIES, LLC, SHAHNAZ §
CHOUDHRI, ALI CHOUDHRI,             §
SHEPHERD-HULDY DEVELOPMENT I, §
LLC, SHEPHERD-HULDY                 §
DEVELOPMENT II, LLC, GALLERIA       §
LOOP NOTE HOLDER LLC, A. KELLY §
WILLIAMS, MAGNOLIA BRIDGECO,        §
LLC, CYPRESS BRIDGECO, LLC,         §
MOUNTAIN BUSINESS CENTER, LLC, §
AND RANDY W WILLIAMS CH7            §
TRUSTEE,                            §
                                    §
       Defendants.                  §

                         ORDER ON MOTION TO RECONSIDER

       This matter is before the Court on the Motion to Reconsider Order Granting Emergency
Motion to Abate (ECF No. 110) filed by Defendants Arabella a PH 3201 LLC, 9201 Memorial Dr.
LLC, 2727 Kirby 26L LLC, Texas REIT LLC, Ali Choudhri, and Shepherd-Huldy Development
I, LLC. (collectively “Counter-Plaintiffs” or “Movants”), and the Response filed by John Quinlan,
Omar Khawaja, and Osama Abdullatif (collectively “Plaintiffs”). The Movants are seeking
reconsideration of the order entered on October 25, 2023, denying the motion to expunge the lis

1/2
           Case 23-03141 Document 135 Filed in TXSB on 01/10/24 Page 2 of 2




pendens (ECF No. 97). The Movants are seeking relief pursuant to Federal Rule of Civil Procedure
(“FRCP”) 59(e) to “prevent manifest injustice” and/or pursuant to FRCP 60(b)(6). For the
following reasons, the motion is denied.
           Courts in the 5th Circuit typically apply the principles of FRCP 59(e) to motions to
reconsider under FRCP 54(b), requiring the movant to show 1) an intervening change in
controlling law; 2) the availability of new evidence not previously available, or 3) the need to
correct a clear error of law or prevent “manifest injustice.”1 Here, the Movants do not argue any
of these factors. Instead they assert that the lis pendens are a continuing cloud on the title to various
properties, as the complaint has been dismissed, which is the same argument urged in the motion
to expunge lis pendens. The Court has already considered this argument and rejected it.
           Counter-Plaintiffs make the same argument under FRCP 60(b) alleging that the dismissal
of the complaint changes the litigation such that expungement is now warranted. The Court
disagrees. These same arguments have been made and rejected in this Court’s prior ruling on the
motion to expunge the lis pendens when the Court found that the real properties remain subject to
disputed claims of fraudulent transfers.
           The complaint was dismissed based on lack of standing only and allowed the Chapter 7
Trustee to become the plaintiff. In the meantime, the case was abated, and the Chapter 7 Trustee
has sold the estate’s interest in this litigation claims to the Plaintiffs.
           THEREFORE, IT IS ORDERED that the Motion to Reconsider Order Denying Motion
to Expunge Notices of Lis Pendens is denied without prejudice.
            SIGNED 01/10/2024


                                                             ___________________________________
                                                             Jeffrey Norman
                                                             United States Bankruptcy Judge




1
    Frew v. Wilson, No. 3:93-cv-65, 2020 WL 8994102, at *2 (E.D. Tex. July 23, 2020).
2/2
